                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION - BAY CITY

IN RE:

      MICHAEL B. WHITE                                         Case No. 13-21977-dob
      and DARLA K. WHITE,                                      Chapter 7 Proceeding
              Debtors.                                         Hon. Daniel S. Opperman
_____________________________________/
COLLENE K. CORCORAN,
      Plaintiff,

v.                                                             Adversary Proceeding
                                                               Case No. 14-2121-dob
MICHAEL B. WHITE
and DARLA K. WHITE,
      Defendants.
_____________________________________/

                                          TRIAL OPINION

                                             Introduction

         The Plaintiff, Collene Corcoran1, through her counsel, Thomas Budzynski, filed a Complaint

to deny the discharge of the Debtors. For the sake of brevity, the relevant portions of the Plaintiff’s

Complaint are:

                6.       That the debtors initially filed a Chapter 11 case which was converted
         to a Chapter 7.

                 7.     That the conversion of the case is on appeal, but the court denied a
         stay of proceedings which specifically noted that the trustee was to proceed with
         administration of the estate.

                 8.      That the debtors have ignored the court order and have continued to
         interfere with the administration of the estate.


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         Ms. Corcoran is the appointed Chapter 7 Trustee in this matter and hired counsel to
represent her in this matter. Ms. Corcoran has appropriately delegated authority to her counsel,
but recently has substituted as counsel given the retirement of previous counsel. For any event
up to January 5, 2016, in this proceeding, the pleadings and actions are those of counsel, not Ms.
Corcoran.

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              9.    The debtors have commenced lawsuits regarding property of the
    estate.

            10.    The debtors have falsely scheduled assets which do not exist or have
    been terminated. As an example, the debtors claim to have an interest in a sand and
    gravel lease. The interest however was recorded after a mortgage on the real estate.
    The mortgage has been foreclosed on which terminated the sand and gravel lease
    interest. The debtors, in contravention of Michigan Law, continue to claim that they
    have rights which survive the mortgage foreclosure.

             11.    The debtors were and are purchasing a parcel of property on a land
    contract. The contract was entered into in 2005. The debtors have filed an adversary
    regarding property of the estate, which not only interferes with the administration of
    the estate, states causes of action which are beyond any appropriate statute of
    limitations. That further, the debtors make wild and unfounded accusations such as,
    the land contract vendor is not going to tender a deed, is required to perform
    functions that were long ago done based upon information and belief, or which in
    fact are not required to be done until contract completion. On information and belief,
    the debtor purchased the property in an “as is” condition, but has failed to provide
    documents to the trustee. The debtor is in default on the contract and has in fact
    rejected same pursuant to provisions of 11 USC 365.

            12.     Giving some consideration to the fact that these debtors are in pro per,
    that does not allow the debtors to interfere with the administration of the estate nor
    follow the law.

            13.      That the debtors have made false oaths as to assets, the sand and
    gravel lease being one example, failed to provide to the trustee recorded documents
    relative to their property, makes false statements regarding property interests, makes
    false statements as to joint debts, has failed to obey a lawful order of the court, the
    interference with the administration of the estate being only one example.

           14.     That the debtor, with intent to defraud, hinder and delay the trustee,
    has concealed, misrepresented, and falsified records and failed to properly preserve
    records.

            15.    That the actions of the debtor constitute violations of 11 USC 727 and
    the various provisions thereof to the extent that denial of discharge is proper.

    As a result, the Plaintiff seeks the following relief:

            WHEREFORE, your trustee herein requests that the court deny the debtors
    a discharge, and award the estate the costs interest and fees so wrongfully sustained.

    The Defendants denied the allegations in paragraphs 7-15 of the Plaintiff’s Complaint and


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the Plaintiff’s request for relief. Since this proceeding was filed, Defendant Darla White has passed

away, and Defendant Michael White has continued the defense of this matter.

        Approximately two months before Trial, the Plaintiff asserted that the Defendant is not

entitled to a discharge under 11 USC § 727(a)(2), (3), (4), (5), (6), and (7)(d)(e) in her Final Pretrial

Statement, which the Defendant did not sign. Instead, the Defendant prepared his own Final Pretrial

Statement. To break the disagreement between the Plaintiff and the Defendant, the Court combined

the statements of each party, primarily to organize the Trial of this matter.

        Trial of this proceeding was held on October 16, 2015. The Defendant testified and exhibits

were admitted. From the Trial and after reviewing Post Trial Briefs, this Court makes the following

findings of fact.

                                           Findings of Fact

        The Defendant, with his wife, Darla, was involved in many diverse business enterprises,

including real estate, sand and gravel extraction, farming, and the sale of goods on the internet.

Unfortunately, Darla White became sick and suffered a number of ailments and experiences that

ultimately took her life. For the last few years of her life, she, as well as the Defendant, were

engaged in a series of efforts to enforce her rights, both in contract and tort. Nearly all of these

efforts failed.

        Unrelated to her health, but directly connected to this case, is a long standing dispute

between the Whites and Frankenmuth Credit Union (“FCU”) regarding a debt owed by the Whites

that was secured by a mortgage on their house. FCU started judicial proceedings in Saginaw County

Circuit Court and a judgment of foreclosure was entered against the Whites and in favor of FCU.

At the same time, the Whites learned that the Sixth Circuit Court of Appeals denied their appeal

regarding an insurance claim that the Whites hoped would net them over $100,000. As they saw it,


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the Debtors believed they needed to file a Chapter 11 proceeding and they did so, without an

attorney, in July of 2014.

       As alleged by the Plaintiff, the Defendant’s papers filed with the Court are often difficult to

parse, an endeavor made more difficult by Mr. White’s beliefs as to the State of Michigan and

Federal bankruptcy law. After retaining an attorney and then not following that attorney’s advice

such that the attorney needed to withdraw, the Debtors filed a proposed Disclosure Statement and

Chapter 11 Plan, but the Court did not approve the disclosure statement or confirm the Chapter 11

plan. Thereafter, the United States Trustee moved to convert the proceeding to Chapter 7, and the

Court granted that request.

       After appointment as the Trustee’s counsel, counsel engaged in a series of actions designed

to get information from the Debtors and liquidate assets. In some instances, the Defendant

cooperated, in others, he did not, often by providing some, but not all information and by relying

on legal precedent the Defendant believed accurate. In turn, Plaintiff’s counsel filed pleadings with

this Court, the Defendant would object, and a hearing held. On other occasions, the Defendant

amended Schedules, such as exemptions, causing the Trustee and her counsel to file objections.

       Despite these actions, the Trustee has liquidated some assets and administered the estate as

best as she can.

                                            Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(J) (objections

to discharges).




                                        Applicable Statutes


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11 U.S.C. § 727(a)(2)

       Section 727(a) of the Bankruptcy Code provides that a debtor is entitled to a discharge unless

an exception applies. Although exceptions to discharge are strictly construed against a creditor, see

Rembert v. AT&T Universal Card Servs., Inc. (In re Rembert),141 F.3d 277, 281 (6th Cir. 1998),

“a discharge in bankruptcy is a privilege, not a right, and should only inure to the benefit of the

honest debtor.” Wazeter v. Michigan National Bank (In re Wazeter), 209 B.R. 222, 226 (W.D.

Mich. 1997). Pursuant to Federal Rule of Bankruptcy Procedure 4005, the burden of proof in

objecting to a discharge under Section 727 is on the plaintiff and must be established by a

preponderance of the evidence. Barclays/American Bus. Credit, Inc., v. Adams (In re Adams), 31

F.3d 389, 394 (6th Cir. 1994).

11 U.S.C. 727(a)(2) states:

       (a) The court shall grant the debtor a discharge, unless –

               (2) the debtor, with intent to hinder, delay, or defraud a creditor or an officer
               of the estate charged with custody of property under this title, has transferred,
               removed, destroyed, mutilated, or concealed, or has permitted to be
               transferred, removed, destroyed, mutilated, or concealed –

                        (A) property of the debtor, within one year before the date of the
                        filing of the petition; or

                        (B) property of the estate, after the date of the filing of the petition.

       In order to deny a debtor his discharge, § 727(a)(2) requires that four elements be proven:

(1) transfer of property; (2) belonging to the debtor; (3) within one year of filing the bankruptcy

petition; and (4) with actual intent to hinder, delay, or defraud creditors or an officer of the estate.

See, e.g., In re Halperin, 215 B.R. 321 (Bankr. E.D.N.Y. 1997).

       Because a debtor rarely admits to acting “with actual intent to hinder, delay, or defraud

creditors or an officer of the estate”, courts have considered the following factors as indicators of

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fraudulent intent:

       (1)     the transfer was to an insider;

       (2)     the debtor retained possession or control of the property transferred after the transfer;

       (3)     the transfer was disclosed or concealed;

       (4)     before the transfer was made, the debtor had been sued or threatened with suit;

       (5)     the transfer was of substantially all of the debtor’s assets;

       (6)     the debtor absconded;

       (7)     the debtor removed or concealed assets;

       (8)     the value of the consideration received by the debtor was reasonably equivalent to
               the value of the asset transferred;

       (9)     the debtor was insolvent or became insolvent shortly after the transfer was made;

       (10)    the transfer occurred shortly before or shortly after a substantial debt was incurred;
               and

       (11)    the debtor transferred the essential assets of the business to a lienor who transferred
               the assets to an insider of the debtor.

Taunt v. Wojtala (In re Wojtala), 113 B.R. 332, 336 (Bankr. E.D. Mich. 1990) citing In re Peters,

106 B.R. 1 (Bankr. D. Mass. 1989); Matter of Brooks, 58 B.R. 462 (Bankr. W.D. Pa. 1986).

       Courts also look to a number of factors to determine if a debtor’s transfer was intended to

hinder or delay creditors, including:

       (1) whether the transaction is conducted at arms-length; (2) whether the debtor is
       aware of the existence of a significant judgment or over-due debt; (3) whether a
       creditor is in hot pursuit of its judgment/claim and whether debtor knows this; and
       (4) the timing of the transfer relative to the filing of the petition. Thus while a court
       may, after viewing all of the relevant factors, determine that the debtor did not intend
       to defraud any creditor it may still reach the conclusion that the debtor did intend to
       hinder or delay a creditor.

Wojtala, 113 B.R. at 336-337.


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11 U.S.C. § 727(a)(3): Concealing or Destroying Financial Information

       Section 727(a)(3) of the Code provides that the court shall grant a debtor a discharge unless,

       The debtor has concealed, destroyed, mutilated, falsified, or failed to keep or
       preserve any recorded information, including books, documents, records, and papers,
       from which the debtor’s financial condition or business transactions might be
       ascertained, unless such act or failure to act was justified under all of the
       circumstances of the case.

       A condition precedent to discharge is that the debtor must provide to his creditors enough

information to ascertain the debtor’s financial condition and to track his finances with substantial

accuracy for a reasonable period in the past to the present. Wazeter, 209 B.R. at 227 (citing In re

Juzwiak, 89 F.3d 424, 427 (7th Cir. 1996)). Creditors and courts are not required to speculate

regarding the financial condition and history of the debtor or to reconstruct the debtor’s financial

affairs. Wazeter, 209 B.R. at 227. Intent is not an element of a Section 727(a)(3) exception to

discharge. Id.

       A debtor is not required to keep books or records in any particular form, nor do the
       creditors have to establish an intent to conceal the financial condition, as long as
       complete disclosure is made so that the creditors are not required to guess at what
       actually occurred.

United States Fid. & Guar. v. Delancey (In re Delancey), 58 B.R. 762, 768 (Bankr. S.D.N.Y. 1986).

       The party seeking the denial of a discharge has the burden of proving the inadequacy of the

debtor’s records. To determine whether the debtor’s records are adequate, courts examine whether

the records are the type kept by a reasonably prudent debtor with the same occupation, financial

structure, education, and experience. Wazeter, 209 B.R. at 227. “Where debtors are sophisticated

in business, and carry on a business involving significant assets, creditors have an expectation of

greater and better record keeping.” Union Planters Bank, N.A. v. Connors, 283 F.3d 896, 900 (7th

Cir. 2002) (citation omitted).


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       Once the moving party shows that there is not sufficient written evidence to ascertain the

debtor’s financial condition and history, then the burden shifts to the debtor to show that his failure

to keep adequate records was justified in the circumstances. Wazeter, 209 B.R. at 227.              To

determine whether the inadequacy of the debtor’s records was justifiable, courts look at a variety

of factors, including the debtor’s education, sophistication, business experience, size, and

complexity of the debtor’s business, debtor’s personal financial structure, and any special

circumstances. Wazeter, 209 B.R. at 230. See also Dolin v. Northern Petrochemical Co. (In re

Dolin), 799 F.2d 251 (6th Cir. 1986) (debtor’s drug and gambling addictions did not justify his

difficulty in recording his business transactions).

       Courts will deny a discharge under section 727(a)(3) when there is evidence of debtor

misbehavior. For example, in Delancey, 58 B.R. 762 (Bankr. S.D.N.Y. 1986), the debtor failed to

produce records showing what he did with the proceeds from the sale of jewelry valued at over

$269,000 and art valued at over $200,000. Debtor’s failure to produce such records was not excused

by his testimony that he simply did not maintain such records. Id. at 768. “The production of

records to explain the disposition of substantial assets is a prerequisite to a debtor’s relief from

having to repay his creditors.” Id. at 769.

11 U.S.C. § 727(a)(4)(A) states:

       (a) The court shall grant the debtor a discharge, unless –

       ...

         (4) the debtor knowingly and fraudulently, in or in connection with the case –

               (A) made a false oath or account;

       Section 727(a)(4)(A) bars a debtor's discharge if he knowingly and fraudulently makes a

false oath or account in connection with the case. “The false oath that is a sufficient ground for

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denying a discharge may consist of (1) a false statement or omission in the debtor’s schedules or (2)

a false statement by the debtor at an examination during the course of the proceedings.” 6 COLLIER

ON   BANKRUPTCY ¶ 727.04[1][c] at 727-42 (Alan N. Resnick & Henry J. Sommer eds., 16th ed.

2010). In order to prevail under § 727(a)(4)(A), a creditor must establish five elements: (1) the

debtor made a statement under oath; (2) the statement was false; (3) the debtor knew that the

statement was false; (4) the debtor made the statement with the intent to deceive; and (5) the

statement related materially to the bankruptcy case. In re Zwirn, 2005 WL 1978510 (Bankr. S.D.

Fla 2005)(citations omitted).2

        The purpose of § 727(a)(4)(A) is to “ensure ‘that those who seek the shelter of the

bankruptcy code do not play fast and loose with their assets or with the reality of their affairs.’“ In

re Bratcher, 289 B.R. 205, 218 (Bankr. M.D. Fl. 2003)( quoting Boroff v. Tully (In re Tully), 818

F.2d 106, 110 (1st Cir.1987)). Section 727(a)(4)(A) ensures that adequate information is available

to the case trustee and creditors without the need for examination or investigation to determine

whether the information is true. In re Craig, 252 B.R. 822, 828-29 (Bankr. S.D. Fl. 2000). Debtors

have a “paramount duty to consider all questions posed on a statement or schedule carefully and see

that the question is answered completely in all respects.” Craig, 252 B.R. at 829 (internal quotation

omitted). “Policy considerations mandate that the requirement to list all assets and liabilities is an

absolute obligation of those seeking discharge of their debts.” Whitehead, 278 B.R. 589, 594 (Bankr.

M.D. Fl. 2002). “[A] debtor who fails to make a full and complete disclosure of relevant information

places the right to the discharge in serious jeopardy.” Id.



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        While “a discharge may only be barred under § 727(a)(2) if the debtor’s intent was to
defraud a creditor or an officer of the estate, section 727(a)(4) does not so limit the objects of the
debtor’s fraudulent intent”. 6 COLLIER ON BANKRUPTCY ¶ 727.04[1][a] at 727-40.

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       The requisite intent. . . may be discovered by inference from the facts. ‘A reckless
       disregard of both the serious nature of the information sought and the necessary
       attention to detail and accuracy in answering may rise to the level of fraudulent intent
       necessary to bar a discharge.’ However a false statement resulting from ignorance
       or carelessness is not one that is knowing and fraudulent.

6 COLLIER ON BANKRUPTCY ¶ 727.04[1][a] at 727-40-41.

11 U.S.C. § 727(a)(4)(D): Knowingly and Fraudulently Withholding Information

       Section 727(a)(4)(D) of the Bankruptcy Code provides that the court shall grant a debtor a

discharge unless,

       the debtor knowingly and fraudulently, in or in connection with the case - - withheld
       information from an officer of the estate entitled to possession under this title, any
       recorded information, including books, documents, records, and papers, relating to
       the debtor’s property or financial affairs.

Under this section, the party objecting to discharge must show that:”(1) the withholding of

documents was done by the debtor or someone for whose conduct the debtor is legally responsible;

(2) was in connection with the case; (3) was withheld from an officer of the estate entitled to

possession; (4) was done knowingly and fraudulently; and (5) relates to the debtor’s property or

financial affairs.” In re Slocombe, 344 B.R. 529, 534 (Bankr. W.D. Mich. 2006).

       Once the initial burden is met, “the Debtor must bring forth enough credible evidence to

dissuade the court from exercising its discretion to deny debtor’s discharge based upon the evidence

presented by the objecting party.” Id., citing Fed. R. Bankr. P. 4005, and Grant v. Sadler (In re

Sadler), 282 B.R. 254 (Bankr. M.D. Fla. 2002).

11 U.S.C. § 727(a)(5): Loss of Assets

       11 U.S.C. § 727(a)(5) provides that the court shall grant the debtor a discharge unless “the

debtor has failed to explain satisfactorily, before determination of denial of discharge under this

paragraph, any loss of assets or deficiency of assets to meet the debtor’s liabilities.” The purpose

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of this section was explained by the court in Kovacs v. McVay (In re McVay), 363 B.R. 824 (Bankr.

N.D. Ohio 2006):

       This section is derived from competing concerns: (1) the trustee and creditors’ right
       to question the debtor about their financial affairs; and (2) the knowledge that
       debtors will not always be completely forthcoming with information about their
       financial activities. Section 727(a)(5) seeks to address these competing concerns by
       conditioning discharge on a debtor satisfactorily explaining any prepetition
       diminution or loss of asset. In order to achieve this, paragraph (a)(5) requires debtors
       to disclose all vital information; there is no requirement of mal-intent or scienter. In
       addition, it does not matter under § 727(a)(5) how the loss or deficiency occurred.
       For example, money spent on illegal activities does not run afoul of § 727(a)(5).
       Section 727(a)(5) is simply concerned with the adequacy of the debtor’s explanation.

Id., 363 B.R. at 830-831 (citations omitted).

       To satisfy her initial burden of proof, the trustee must show two things: first, that the debtor

had a cognizable ownership interest in a specific asset, and second, that the debtor’s interest existed

at a time not too far removed from when the petition was filed. Id. at 831. Once the trustee has met

her burden, the debtor must satisfactorily explain the loss. The standard for a satisfactory

explanation under § 727(a)(5) “is one that is reasonable under the circumstances.” Id. (quoting Lacy

Wholesale & Main Factors v. Bell (In re Bell), 156 B.R. 604, 605 (Bankr. E.D. Ark. 1993)). A

reasonable explanation involves capacity for verification. The explanation should enable a trustee

to investigate the circumstances of the loss. Id.

                                                Analysis

       The Court has had the opportunity to observe both Debtors in Court often and takes that

experience into account in its analysis. As stated, subsections (2) and (4) require scienter, that is a

state of mind or intent in order to deny a discharge. Here, the Plaintiff argues that the Defendant

acted as he did with such intent. The Court disagrees. While Mr. White is certainly convinced of

his correctness of the law in instances where the Court concludes he is incorrect, and while Mr.

White can be passionate in his belief of certain matters, he has not acted with the requisite intent


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under (2) and (4). While the Defendant may be vocal and assert his rights with vigor, Congress has

not legislated these characteristics as elements of subsection (2) and (4).

       Turning to subsection (3), the Court finds that while the Defendant did not respond

completely to certain requests of the Trustee, he did respond as best he could. Some information

may be missing, but not enough to stop either the Trustee or creditors from ascertaining the Debtors’

financial condition. The Plaintiff has not met her burden of proof as to this subsection.

       As to the alleged loss of assets claimed by the Plaintiff, the Court does note that if the

Debtors had taken a less litigious route, more money would have been available. For example, had

the Debtors not fought FCU as they did in the Chapter 11 portion of these proceedings, FCU would

not have incurred attorney fees that were added to the debt, not to mention the accrual of interest as

well. While perhaps true, the Debtors believed and thought otherwise. That belief and thought

process, while perhaps in error, was not completely unfounded. Also, while some assets may not

be completely accounted for down to the last hand tool or personal belonging, these items alone have

not harmed the estate, much less support a subsection (5) claim.

       It is perhaps noteworthy to acknowledge the Plaintiff’s argument that the Defendant claims

an interest in a sand and gravel lease that the Plaintiff claims was terminated by a mortgage

foreclosure. The Plaintiff claims the Defendant, or one of his corporations, has no such interest; the

Defendant claims he does. With these facts, the Court is hard pressed to see how the Plaintiff, if

correct, is harmed.

       Finally, the Plaintiff argues the Defendant should be denied a discharge because he has not

obeyed a lawful court order. The Plaintiff has not, however, directed the Court to any specific order

or demonstrated how the Defendant has disobeyed such an order. While the Court concedes that the

Defendant may not like the orders of this Court that grant relief against the Defendant, there has not


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been a showing of disobedience of those orders. Accordingly, the Court finds that the Plaintiff

failed to meet her burden of proof as to this claim.

                                            Conclusion

        The Plaintiff has not met her burden of proof as to any claim raised in her Complaint. The

Defendant has not acted with the requisite intent as required by 11 U.S.C. § 727(a)(2) and (4). Also,

the Defendant has not acted in such a manner to meet the elements of 11 U.S.C. § 727(a)(3), (5), or

(6). As the Plaintiff has not met her burden of proof, the Plaintiff’s Complaint must be dismissed

as failing to state a cause of action.

        The Court will enter an Order consistent with this Opinion.

cc:     Michael White
                                                  .



Signed on March 11, 2016
                                                         /s/ Daniel S. Opperman
                                                       Daniel S. Opperman
                                                       United States Bankruptcy Judge




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